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10                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
11                                   AT TACOMA
12    UNITED STATES OF AMERICA,
13                         Plaintiff,                      CASE NO. CR08-5125BHS
14           v.                                            ORDER EXTENDING
15
                                                           DEADLINE FOR PRETRIAL
      EPIFANIO BARRAGAN ESTRADA,                           MOTIONS
16                         Defendant.
17

18          This matter comes before the Court on Defendant Epifanio Barragan Estrada’s

19   Motion to Extend Time for Filing Pretrial Motions (Dkt. 281). The United States does not

20   oppose extending the time for Defendant Estrada. Based upon the motion and for good

21   cause, the deadline for Defendant Estrada to file pretrial motions is hereby extended to

22   September 18, 2008.




                                                      A
23          DATED this 8th day of September, 2008.

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26                                                    BENJAMIN H. SETTLE
27                                                    United States District Judge
28

     ORDER - 1
